         Case 1:19-cv-00726-EGS Document 21 Filed 01/21/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JUDICIAL WATCH, INC.,


                    Plaintiff,

        v.
                                                     Case No. 19-cv-726 (EGS)
 U.S. DEPARTMENT OF JUSTICE,


                    Defendant.


                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order signed November 23, 2021, the Parties submit the

following joint status report and attached proposed order.

       There are two FOIA requests at issue in this lawsuit, one directed to the FBI, Compl. ¶ 6,

and one to the Department of Justice (“DOJ”) Office of Information Policy (“OIP”), Compl. ¶ 12.

FBI has completed its response to the request and, at Plaintiff’s request and for negotiation

purposes, provided Plaintiff with a draft Vaughn index for all documents withheld in full and a

description of the search methodology employed in responding to the FOIA request. Plaintiff is

currently evaluating FBI’s search and disclosures.

       OIP has provided the same information to Plaintiff regarding its response to the request,

and the Parties have met and conferred regarding OIP’s search and disclosures. As previously

reported to the Court, ECF No. 15, OIP discovered that it had inadvertently excluded certain

custodians from its search that may possess responsive records. OIP informed Plaintiff and

completed a supplemental search, identifying approximately 545 pages of potentially responsive

records. OIP provided an interim release of 257 pages to Plaintiff on May 6, 2021, with the

remaining 289 pages outstanding in consultation with other agencies with equities in these records.
         Case 1:19-cv-00726-EGS Document 21 Filed 01/21/22 Page 2 of 2




       OIP also conducted a supplemental search on classified systems for records responsive to

the request pursuant to a lead identified in the unclassified search. OIP identified approximately

104 additional pages containing records responsive to Plaintiff’s request and has reviewed the

records, but is unable to complete processing at this time as these records are currently also in the

consultation process with other Department components. These classified records were sent out

for consultation shortly before the Parties’ most recent joint status report, submitted July 9, 2021.

       OIP previously reported that it anticipated completing the outstanding consultation review

by November 8, 2021. OIP has completed the review and provided an interim response to Plaintiff

on December 16, 2021 and a final response on January 20, 2022.

       In light of the foregoing status, the Parties propose filing a further joint status report by

February 22, 2022, updating the Court regarding the status of these proceedings.

Dated: January 21, 2022                            Respectfully submitted,

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